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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

GEORGIA OPERATORS SELF-                  )
INSURERS FUND,                           )
                                         )     CIVIL ACTION FILE NO.
      Plaintiff,                         )     1:12-cv-02578-ODE
                                         )
v.                                       )     JURY TRIAL DEMANDED
                                         )
PMA MANAGEMENT CORP.                     )
                                         )
      Defendant.                         )
                                         )

              NOTICE OF DEPOSITION OF CONNIE MABRY

To:   Paul W. Burke, Esq.
      Eric R. Mull, Esq.
      DREW ECKL & FARNHAM, LLP
      880 West Peachtree Street
      P.O. Box 7600
      Atlanta, Georgia 30357
      Telephone: (404) 885-1400
      Facsimile: (404) 876-0992
      burkep@deflaw.com
      mulle@deflaw.com
      Counsel for Defendant

      PLEASE TAKE NOTICE that pursuant to Rules 26 and 30 of the Federal

Rules of Civil Procedure, Plaintiff Georgia Operators Self-Insurer’s Fund

(“GAOSIF”) will take the deposition, upon oral examination, of Connie Mabry at

the offices of Barnes & Thornburg LLP, 3475 Piedmont Road, N.E., Suite 1700,
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Atlanta, Georgia 30305, commencing at 9:00 a.m. on a date to be mutually agreed

upon by counsel. The deposition will be taken by stenographic means before a

notary public or person authorized to administer oaths. The examination will

continue from day to day until its completion.

      The deposition may be used for discovery, at the trial of this action, and for

all other purposes permitted by the Federal Rules of Evidence, Federal Rules of

Civil Procedure, and the Local Rules of the United States District Court for the

Northern District of Georgia.

      Dated this 18th day of February, 2013.

/s/ John L. Watkins                          /s/ Kenneth M. Gorenberg
John L. Watkins, Esq.                        Kenneth M. Gorenberg, Esq.
Georgia Bar No. 740515                       Pro hac vice
BARNES & THORNBURG, LLP                      Jacob P. Zipfel, Esq.
Prominence in Buckhead                       Pro hac vice
3475 Piedmont Road, N.E.,                    BARNES & THORNBURG, LLP
Suite 1700                                   One North Wacker Drive, Suite 4400
Atlanta, Georgia 30305                       Chicago, Illinois 60606
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jwatkins@btlaw.com                           kgorenberg@btlaw.com
Counsel for Plaintiff                        jzipfel@btlaw.com
                                             Counsel for Plaintiff




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                     CERTIFICATE OF COMPLIANCE

      As required by Local Rule 7.1D, N.D. Ga., I hereby certify that this pleading

has been prepared in Times New Roman 14-Point font, one of the font and point

selections approved by this Court in Local Rule 5.1B, N.D. Ga.

      This 18th day of February, 2013.

                                             /s/John L. Watkins
                                             John L. Watkins, Esq.




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                          CERTIFICATE OF SERVICE

      The undersigned hereby certifies that a copy of the foregoing Notice of

Deposition of Connie Mabry has been electronically filed with the Clerk of Court

using the CM/ECF system this 18th day of February 2013, which automatically

sent e-mail notification to the following attorneys of record:

                          Paul W. Burke, Esq.
                          Eric R. Mull, Esq.
                          DREW ECKL & FARNHAM, LLP
                          880 West Peachtree Street
                          P.O. Box 7600
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                                       /s/ John L. Watkins
                                       John L. Watkins, Esq.
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